        Case 1:14-ml-02570-RLY-TAB Document 22482 Filed 08/04/22 Page 1 of 1 PageID #:
                                         132694
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                Southern District
                                             __________  District of
                                                                  of Indiana
                                                                     __________


                           Leo Butler                          )
                             Plaintiff                         )
                                v.                             )      Case No.     1:17-cv-00185-RLY-TAB
                  Cook Medical LLC, et al.                     )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff, Leo Butler                                                                                        .


Date:          08/04/2022                                                               /s/ Jonathan A. Knoll
                                                                                         Attorney’s signature


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